Case 2:20-cr-20252:VAR-APP._ ECF No. 1, PagelD.1 Filed 12/12/19 Page 1 of 7

 

AUSA: © Julie Beck a Telephone: (313) 226-9717 /
AO 91 (Rev; 11/11) Criminal Complaint Special Agent:. Christopher Hudson, HSI Telephone: (313) 226-0511
_ UNITED STATES DISTRICT COURT
~~ for the

Eastern District of Michigan

United States of America . : — ee ee i
a oe | | Case:2:19-mj-30652
Fabian Andres PLATA OCAMPO Judge: Unassigned,

Filed: 12-13-2019 At 12:27 PM
USA V PLATA OCAMPO (CMP)(CMC)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the Following i is true to the best of my knowledge and belief.

 

Ono or about the date(s) of : October 19,2019 _ in the county of Wayne in n the
Eastern District of Michigan - SD___, the defendant(s) violated:
. -Code Section _. . Offense Description
Title 31, United States Code, Section 5332, Bulk Cash Smuggling.

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT

 

Continued on the attached sheet.

 

Complainant's signature

> a . . Christopher Hudson, Special Agent, HSI
: Printed name and title

Sworn to before me and signed in my presence.

 

 

 

 

Gj a
Date: December 12, 2019 Judge's signature
City and state: Detroit, Miéhigan : ; . Honorable R. Steven Whalen, U.S. Magistrate Judge

Printed name and title

o>
Case 2:20-cr-20252-VAR-APP ECF No. 1, PagelD.2 Filed 12/12/19 Page 2 of 7

_ AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Christopher Hudson, Special Agent of Homeland Security Investigations
(HSI), Detroit, Michigan, United States Department of Homeland Security, being
duly sworn deposes and states:

I. INTRODUCTION

| 1. Ihave been employed as a Special Agent with HSI since March of 2003. I
have received basic training at the Federal Law Enforcement Training Center
located in Glynco, Georgia. I am currently assigned to the HSI Guns and Gangs
group. During my career, I have been involved in numerous investigations of

federal currency violations. Prior to this assignment, I was a certified police
officer in the State of Michigan from 2001 to 2003.

2. The facts in this affidavit come from my personal observations, my
training and experience, and from information obtained from other law
enforcement officers. This affidavit is intended to demonstrate that there is
sufficient probable cause for this complaint and does not set forth all information
known to law enforcement related to this investigation.

3. This affidavit is provided in support of a complaint and arrest warrant for

Fabian Andres PLATA OCAMPO, DOB: XX/XX/1984. Probable cause exists that

PLATA OCAMPO violated Title 31 U.S.C. 5332, Bulk Cash Smuggling.
Case 2:20-cr-20252-VAR-APP ECF No. 1, PagelD.3 Filed 12/12/19 Page 3 of 7

Il. PROBABLE CAUSE & INVESTIGATION
4. On October 19, 2019, at approximately 7:00 pm, PLATA OCAMPO,

Citizen of Columbia, arrived at the Detroit Ambassador Bridge Port of Entry.
PLATA OCAMPO was driving a rental vehicle with Georgia license plate number
CJV 5387. PLATA OCAMPO was the sole occupant in the vehicle. PLATA
OCAMPO stated to Customs & Border Protection Officer (CBPO) Langmeyer that
he was lost and did not intend to go to Canada. CBPO Langmeyer received a
negative declaration from PLATA OCAMPO. PLATA OCAMPO presented a
Columbian passport to CBPO Langmeyer for identification. Records checks
indicated that PLATA OCAMPO had overstayed his Visa and was currently out of
status and deemed removeable from the United States. CBPO Langmeyer
explained the currency reporting requirements to PLATA OCAMPO and asked
how much currency PLATA OCAMPO was in possession of. PLATA OCAMPO
stated that he was in possession of $10,000 in US currency. CBPO Langmeyer
referred PLATA OCAMPO and the vehicle for secondary inspection.

5. During secondary inspection, CBPO’s Howe and Rabaut verified that
PLATA OCAMPO was in possession of $10,853 in US currency. Customs
Enforcement Officer (CEO) tani and his K-9 partner “Codi” conducted a search
of the rental vehicle operated by PLATA OCAMPO. “Codi” indicated a positive

alert to the vehicle, specifically the dashboard of the vehicle. Upon further physical
Case 2:20-cr-20252-VAR-APP ECF No. 1, PagelD.4 Filed 12/12/19 Page 4 of.7

inspection of the vehicle by CBPO’s Shinn, Singh and CEO Itani, Officers located
several bundles of US currency hidden in the dashboard and several bags located in
the vehicle. The total amount of US currency found in the vehicle and on PLATA
OCAMPO’s person was $178,427. Also located inside the vehicle were several .
bank transaction receipts from different accounts and bank branch locations.

CBPO’s also located a fraudulent Mexican drivers license with PLATA

OCAMPO’s picture on it under the name of Andres Felipe Medina Montoya.

Rental paperwork inside of the vehicle indicated that PLATA OCAMPO rented the
vehicle from Chicago, IL. using the fraudulent Mexican drivers license. PLATA
OCAMPO was detained and placed in a holding cell.

6. On October 19, 2019, at approximately 10:52 pm Homeland Security |
Investigations (HSI), Special Agent (SA) Christopher Hudson conducted an
interview of PLATA OCAMPO. Prior to the interview, PLATA OCAMPO was
advised of and waived his Miranda rights. The tights were given to PLATA
OCAMPO in the Spanish Language. PALTA OCAMPO signed the HSI rights
form. The following is a non-verbatim synopsis of the interview:

a. PLATA OCAMPO has been doing money pickups for

approximately 4 months. | -
Case 2:20-cr-20252-VAR-APP ECF No. 1, PagelD.5 Filed 12/12/19 Page 5 of 7

b. PLATA OCAMPO has done approximately 5 money pickups, but only

in the Los Angeles, CA. area, This is his first time picking up money outside

of Los Angeles, CA.

c. PLATA OCAMPO was provided a cellular telephone by an individual

he did not know. PLATA OCAMPO receives instructions via text messages

and phone calls on when and where to do money pickups.

d. On this particular occasion, PLATA OCAMPO flew from Los Angeles,

CA. to Chicago, IL., rented a vehicle and drove to Columbus, OH. In

Columbus, OH. he picked up the money from | anunknown individual.

e. PLATA OCAMPO was sightseeing in Detroit when he —_ ultimately ©

got lost and ended up in the Port of Entry,

f. PLATA OCAMPO knew that what he was doing was probably illegal,

but he was doing the money pickups to pay off a debt that he owed in

Columbia stemming from a real estate deal.

g. PLATA OCAMPO expressed concern for his family back home in

Columbia. :

7. . Analysis of the bank receipts located inside of the rental vehicle
revealed that from 10/17/2019 through 10/19/2019 a total of 22 bank transactions

took place from different bank accounts and bank branches in Illinois, Indiana, and

Ohio with a total amount of $194, 740 in US currency.

No.
Case 2:20-cr-20252-VAR-APP ECF No. 1, PagelD.6: Filed 12/12/19 Page 6 of 7

8. . Affiant reviewed a video filmed by PLATA-OCAMPO as he was

pending inspection at the Detroit Port of Entry on the Ambassador Bridge on
October 19, 2019, shortly before inspection. PLATA-OCAMPO is observed
stuffing money into bags in the video. In addition, PLATA-OCAMP is narrating
the video and states the following in the Spanish language, “This is the line. I
passed it, so I had to turn around. | This is the line and I am entering the United
States again. Just so you know how it is. I cannot return because there are cars ,
there and there. T cannot return. I put—well, I put here... Honesty, I have small
denomination bills. I spent the large ones. I am going to look, I am going to
pass/enter. I am not going to say anything yet. Let’s wait and see- - I cannot return
now. I must enter with my passport and visa. I am in an American car, so God
forbid something happens to me (God willing nothing happens to me...). Look,
this is the line.” Affiant confirmed the video was sent by text message to an
unknown réceiver.

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Case 2:20:cr-20252-VAR-APP ECF.No. 1, PagelD.7 Filed 12/12/19 Page’7 of 7

9. Based on the foregoing, probable cause exists that Fabian Andres

PLATA OCAMPO did knowingly and intentionally violate Title 31 U.S.C. 5332,

Cell

~ Christopher Hudson
Special Agent
Homeland Security Investigations

Bulk Cash Smuggling.

 

Sworn to before me and signed in my
presence and/or by reliable electronic means.

a
Honorable R.-Steven Whalen
United States Magistrate Judge —

Dated: DEC 13 2g
